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                    THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In re: DEEPWATER HORIZON              *   MDL NO. 2179
                                      *
                                      *   SECTION “J”
                                      *
                                      *   DIVISION “I”
                                      *
                                      *   JUDGE CARL J. BARBIER
                                      *
This document relates to: 10-CV-1986  *   MAGISTRATE SHUSHAN
                                      *
************************************************************************
                                    ORDER

Considering the foregoing:

       IT IS HEREBY ORDERED, that Plaintiffs, Terry G. Robin et al, be and is hereby

granted leave of court to file a reply memorandum to its Motion for approval of the Short

Form limitation Claim Form approved and authorized by order of the Court for use in the

Transocean Limitation Proceedings.

       New Orleans, Louisiana this _____ day of _________________, 2011.


                             ____________________________________________
                              UNITED STATES DISTRICT JUDGE
